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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION

AMBER HUGHES,

         Plaintiff,

v.                                                                        Case No: 5:19-cv-435-Oc-PRL

COMMISSIONER OF SOCIAL
SECURITY,

         Defendant.


                                                  ORDER
         This matter is before the Court on Plaintiff’s unopposed petition for attorney fees. (Doc.

29). Pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d), Plaintiff requests

an award of fees in the amount of $6,356.30. The attached schedules of hours confirm the attorney

hours. (Doc. 29-1). Plaintiff represents that the Commissioner has no objection to her petition.

         Plaintiff asserts that she is the prevailing party in this litigation, that the Commissioner’s

position in the underlying action was not substantially justified and that her net worth at the time

proceeding was filed was less than two million dollars.1 On June 23, 2020, the Court entered an

Order reversing and remanding this cause back to the Commissioner for further proceedings

pursuant to sentence four of 42 U.S.C. § 405(g). (Doc. 27). The next day, the Clerk entered

Judgment. (Doc. 28). On August 25, 2020, Plaintiff filed her petition for attorney’s fees. (Doc. 29).




         1
          Under the EAJA, a claimant is eligible for an attorney fee award where: (1) the claimant is a
prevailing party in a non-tort suit involving the United States; (2) the Government=s position was not
substantially justified; (3) the claimant filed a timely application for attorney’s fees; (4) the claimant had a
net worth of less than $2 million at the time the complaint was filed; and (5) there are no special
circumstances which would make the award of fees unjust. 28 U.S.C. § 2412(d).
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       Plaintiff attached a copy of the fee agreement (Doc. 29-2), which includes Plaintiff’s

assignment of EAJA fees to her counsel. Based on the assignment, Plaintiff requests (and

Defendant agrees) that the payment should be made payable to Plaintiff and delivered to Plaintiff’s

counsel unless Plaintiff owes a federal debt. If the U.S. Department of the Treasury determines

that Plaintiff does not owe a federal debt, the government will accept Plaintiff’s assignment of

EAJA fees and pay fees directly to Plaintiff’s counsel.

       Pursuant to the provisions of the Equal Access to Justice Act (28 U.S.C. § 2412(d)),

Plaintiff’s petition for attorney’s fees (Doc. 29) is GRANTED. Plaintiff is awarded attorney’s fees

in the amount of $6,356.30. Payment is authorized to Plaintiff’s counsel if the Commissioner

determines Plaintiff does not owe a debt to the government.

       DONE and ORDERED in Ocala, Florida on August 28, 2020.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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